Case 8:25-cr-00164-LKG Document14 Filed 05/29/25 Pagelof5

SED

EEN: USAO 2025R00227

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA " ym
v. * CRIMINAL NO. LKG=- 25-cr- (4
AARON CROOM, * (Involuntary Manslaughter,
* 18 U.S.C. §§ 7 and 1112(b);
Defendant * Driving Under the Influence of
¥ Alcohol, 36 C.F.R. § 4.23; Reckless
* Driving, 36 C.F.R. § 4.2, Assimilating
® Md. Transp. Art. § 21-901.1; Leaving
* the Scene of a Crash Resulting in
# Death, 36 C.F.R. § 4.2, Assimilating
® Md. Transp. Art. § 20-102(b))

REKEKKEEE

INDICTMENT

COUNT ONE
(Involuntary Manslaughter)

The Grand Jury for the District of Maryland charges that:
On or about April 18, 2025, in the District of Maryland, the defendant,
AARON CROOM,

on lands within the special maritime and territorial jurisdiction of the United States, did
unlawfully kill Victim One, a thirteen-year-old male, in the commission of an unlawful act not
amounting to a felony, to wit: (1) operating a motor vehicle while the alcohol concentration in
his blood was 0.08 grams or more of alcohol per 100 milliliters of blood, and (2) driving a
vehicle in a manner that indicated a wanton and willful disregard for the safety of persons and
property, in violation of 36 C.F.R. §§ 4.23 and 4.2, assimilating Md. Transp. Art. § 21-901.1(a).

18 U.S.C. § 1112(b)
18 U.S.C. §7
Case 8:25-cr-00164-LKG Document14 Filed 05/29/25 Page2of5

COUNT TWO
(involuntary Manslaughter)

The Grand Jury for the District of Maryland further charges that:
On or about April 18, 2025, in the District of Maryland, the defendant,
AARON CROOM,

on lands within the special maritime and territorial jurisdiction of the United States, did
unlawfully kill Victim Two, a ten-year-old female, in the commission of an unlawful act not
amounting to a felony, to wit: (1) operating a motor vehicle while the alcohol concentration in
his blood was 0.08 grams or more of alcohol per 100 milliliters of blood, and (2) driving a
vehicle in a manner that indicated a wanton and willful disregard for the safety of persons and
property, in violation of 36 C.F.R. §§ 4.23 and 42), assteaitetine Md. Transp. Art. § 21-901.1(a).

18 U.S.C. § 1112(b)
18 U.S.C. 87
Case 8:25-cr-00164-LKG Document14 Filed 05/29/25 Page 3of5

COUNT THREE
(Driving Under the Influence of Alcohol)

The Grand Jury for the District of Maryland further charges that:
On or about April 18, 2025, in the District of Maryland, the defendant,
AARON CROOM,
on lands administered by the National Park Service, did operate a motor vehicle while under the
influence of alcohol to a degree that rendered him incapable of safe operation and while the
alcohol concentration in his blood was 0.08 grams or more of alcohol per 100 milliliters of

blood.

36 C.E.R. § 4.23
Case 8:25-cr-00164-LKG Document14 Filed 05/29/25 Page4of5

COUNT FOUR
(Reckless Driving)

The Grand Jury for the District of Maryland further charges that:
On or about April 18, 2025, in the District of Maryland, the defendant,
AARON CROOM,
on lands administered by the National Park Service, did drive a motor vehicle in a manner that
indicated a wanton and willful disregard for the safety of persons and property.

36 C.F.R. § 4.2,
Md. Transp. Art. § 21-901.1(a)
Case 8:25-cr-00164-LKG Document14 Filed 05/29/25 Page5of5

COUNT FIVE
(Leaving the Scene of an Accident Resulting in Death)

The Grand Jury for the District of Maryland further charges that:
On or about April 18, 2025, in the District of Maryland, the defendant,
AARON CROOM,
on lands administered by the National Park Service, was involved in an accident that resulted in
the death of another person and failed to return to and remain at the scene of that accident.

36 C.F.R. § 4.2,
Md. Transp. Art. § 20-102(b)

L oAL K/ (MS

Kelly O. Hayes
United States Attorney

A TRUE BILL:

SIGNATURE REDACTED Date: Ay
F orepegsom,

